          Case 1:19-cv-11626-DPW  Document
                         UNITED STATES     39 Filed
                                       DISTRICT     08/28/19 Page 1 of 1
                                                 COURT
                                  DISTRICT OF MASSACHUSETTS

                     CLERK’S CERTIFICATE AND APPEALS COVER SHEET

                               ABBREVIATED ELECTRONIC RECORD


Case Caption:                     Doe v. Trustees of Boston College
                                  __________________________________________________________

District Court Number:            1:19-cv-11626-DPW
                                  __________________________________________________________


Fee:    Paid?         X
                 Yes ____                                                              X
                          No ____ Government filer ____ In Forma Pauperis Yes ____ No ____


Motions Pending                        X
                          Yes ____ No ____                  Sealed documents              X No ____
                                                                                     Yes ____
If yes, document #        _______________                   If yes, document #       _______________

Ex parte documents             X No ____
                          Yes ____                          Transcripts              Yes ____ No ____
If yes, document #        3-5
                          _______________                   If yes, document #       _______________



Notice of Appeal filed by: Plaintiff/Petitioner ____                         X
                                                       Defendant/Respondent ____ Other: ____

Appeal from:
#35 Order of Preliminary Injunction
Other information:
Sealed documents: 1-8, 11-14, 16-20, 23-25, 30, 32-33

        I, Robert M. Farrell, Clerk of the United States District Court for the District of Massachusetts, do
hereby certify that the annexed electronic documents:

#35 and #38
with the electronic docket sheet, constitute the abbreviated record on appeal in the above entitled case for
the Notice of Appeal # ________
                        38         filed on__________________.
                                           8/28/2019


                                                                                         8/28/2019
        In testimony whereof, I hereunto set my hand and affix the seal of this Court on _____________.



                                                            ROBERT M. FARRELL
                                                            Clerk of Court


                                                            /s/ Arnold Pacho
                                                            ____________________________
                                                            Deputy Clerk




COURT OF APPEALS DOCKET NUMBER ASSIGNED: ____________________________


                           PLEASE RETURN TO THE USDC CLERK’S OFFICE
